                                                                       Schedule A
Columns
 1          2                   3               4                     5                     6                7
 Cause of   Plaintiff           Musical         Writers               Date of Publication   Certificate of   Date of Known
 Action                         Composition                                                 Registration     Infringement
                                                                                            Number

            GREENFUND           SO FAR AWAY     John F. April         May 20, 2003          PA 1-157-383     May 13, 2025

            I.M. NOBODY MUSIC                   Aaron Lewis

            PIMP YUG                            Michael Mushok

            MY BLUE CAR MUSIC                   Jonathan Wysocki
            COMPANY

            W CHAPPELL MUSIC
 1.         CORP. d/b/a WC
            MUSIC CORP.



                                SHUT UP AND      Sean Waugaman        December 2, 2014      PA 1-962-818     May 13, 2025
 2.         W CHAPPELL MUSIC    DANCE
            CORP. d/b/a WC                       Kevin Ray
            MUSIC CORP.
                                                 Eli Maiman

                                                 Ryan McMahon

                                                 Benjamin H. Berger

                                                 Nicholas Petricca


                                                                                                             May 13, 2025
 3.
            MARK HOPPUS d/b/a   ALL THE SMALL    Travis L. Barker     June 1, 1999          PA 957-349
            HMNIM               THINGS
                                                 Thomas DeLonge

                                                 Mark Hoppus




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